         3:19-cv-03181-SEM-TSH
3:19-cv-03181-SEM-TSH            # 4705/15/21
                         # 48 Filed:    Page 1 of 2 1 of 11
                                               Page
                                                                          E-FILED
                                                                          E-FILED
                                               Saturday,
                                                Monday, 15
                                                         10 May,
                                                            May, 2021
                                                                  2021 08:56:09
                                                                         05:09:52 AM
                                                                                   PM
                                                     Clerk,
                                                     Clerk, U.S.
                                                            U.S. District
                                                                 District Court,
                                                                          Court, ILCD
                                                                                 ILCD
         3:19-cv-03181-SEM-TSH
3:19-cv-03181-SEM-TSH            # 4705/15/21
                         # 48 Filed:    Page 2 of 2 2 of 11
                                               Page
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 3 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 4 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 5 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 6 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 7 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 8 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 9 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 10 of 11
3:19-cv-03181-SEM-TSH # 48   Filed: 05/15/21   Page 11 of 11




                                                                                        E-FILED
                                                               Monday, 10 May, 2021 05:09:53 PM
                                                                   Clerk, U.S. District Court, ILCD
